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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

       v.                                            Case No. 21-cr-622-APM

    MITCHELL TODD GARDNER, II

        Defendant.

                    GOVERNMENT’S MOTION FOR AN ACCOUNTING OF
                        THE FUNDS RAISED BY THE DEFENDANT

            The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves for an accounting of money the defendant has raised

in connection with this case.

            It has come to the government’s attention that the defendant has set up a GiveSendGo

account. 1 The website indicates the money is “to pay his lawyer, support his kids and

grandparents, and get his life back together.” Thus far, approximately $14,000 has been

raised. The government seeks an accounting of all the money that was raised, including who the

money came from and on what it was spent. Depending on what that accounting shows, the

government may seek a fine in the amount of the money that was raised. 2

            In support of this motion, the government submits that the defendant’s Guidelines

presume that he should pay a fine. See Presentence Investigation Report (“PSR”) ¶ 150 (noting

Guidelines fine range between $20,000 and $200,000). In determining whether to impose a fine,

the court should consider, inter alia, the defendant’s income, earning capacity, and financial



1
    https://www.givesendgo.com/FreeGardner
2
    Judge McFadden required a similar accounting in U.S. v. Mehaffie, 21-cr-40.
                                                1
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resources, as well as whether a defendant has sought to “capitalize” on a crime that “intrigue[s]”

the “American public.” See 18 U.S.C. § 3572(a)(1); U.S.S.G. § 5E1.2(d); United States v. Seale,

20 F.3d 1279, 1284-86 (3d Cir. 1994). Although the PSR concluded that the defendant does not

have the ability to pay a fine, see PSR at ¶ 117, it is unclear if the PSR author was aware of the

money raised by the defendant through the GiveSendGo account. The defendant under any

circumstances, should not be permitted to profit from his criminal conduct.

                                              Respectfully submitted,

                                                             MATTHEW M. GRAVES
                                                             UNITED STATES ATTORNEY


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